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IN 'I`I-IE UNITED STATES DIS’I`RICT COURT
FOR THE DISTRICT OF MARYLAND

 

(NORTHERN I)IVISION)
A'I‘&T CORP. )
Plaintijj‘, §
V. § Civi] Case No.:
CUI)DY & ASSOCIATES, LLC §
Defendanf. §
)

 

PLAINTIFF’S DISCLOSURE OF CORPORATE INTEREST
PURSUANT TO LOCAL RULE 1033

Plaintiff AT&T Corp. (“AT&T” or “P]aintiff”), by and through its undersigned oounsel,
and pursuant to Ruie 103.3 of the Local Rules of the United States Distriot Court for the District
of Maryland, States that Plaintiff is a 100% Subsidiary of AT&T, Ino., and as Such, AT&T, Inc.

may have a financial interest in the outcome of this litigation

 

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Respectfully Submitted,

/S/ John R. Fischel

John R. Fisehel, Esq. (#25690)

lames Pheian Robinson, Esq. (#19816)
BRADY, FISCHEL & DAILY, LLC
721 Melvin Avenue

Annapolis, Maryiand 21401

Phone: (410) 216-9054

Fax: (410) 216-9034
john@bfdlegal.com
james@bfdiegal.com

/S/

Troy A. Glander, Esq.*

ALLAN, NAVA, & GLANDER PLLC
13409 NW Military Hwy, Suite 300
San Antonio, Texas 78231

Phone: (21{)) 787-5446

FaX: (210) 305-4219
TGlandei'@ANGlanmn.com

* Pro hac vice to be Subrnitted

Atfomeysfor Plainti]j“A T&T Corp.

